Case:19-13271-MER Doc#:167 Filed:01/24/20              Entered:01/24/20 10:56:58 Page1 of 21




                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF COLORADO

 In re:
                                                 Case No. 19-13271-MER
 NSPIRE HEALTH, INC.
 EIN: XX-XXXXXXX,                                Chapter 11

 Debtor.

 In re:
                                                 Case No. 19-13273-MER
 NSPIRE HEALTH, LLC.
 EIN: XX-XXXXXXX,                                Chapter 11

 Debtor.                                         Jointly Administered in
                                                 Case No. 19-13271-MER

   FINAL ORDER (I) AUTHORIZING DEBTOR NSPIRE HEALTH, INC. TO OBTAIN
     POSTPETITION FINANCING; (II) GRANTING LIENS AND SUPERPRIORITY
             CLAIMS; AND (III) SCHEDULING A FINAL HEARING



          Upon the motion, dated December 19, 2019 (the “DIP Motion”), of the debtors and

 debtors-in-possession (collectively, the “Debtors”), in the above-referenced chapter 11 cases

 (the “Cases”), seeking entry of a final order (this “Final Order”) pursuant to sections 105,

 363(b), 364(c)(1), 364(c)(2), 364(d)(1), 364(e), and 507 of title 11 of the United States Code (as

 amended, the “Bankruptcy Code”), Rules 2002, 4001, 6004, and 9014 of the Federal Rules of

 Bankruptcy Procedure (the “Bankruptcy Rules”) and Rules 4001-2, and 9013-1 of the Local

 Bankruptcy Rules of the United States Bankruptcy Court for the District of Colorado (the “Local

 Rules”), that, among other things:




 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20                  Entered:01/24/20 10:56:58 Page2 of 21




          (i)    authorizes nSpire Health, Inc. (the “Borrower”) to obtain a revolving loan facility
          up to $1,200,000 pursuant to the terms of the Loan and Security Agreement, dated as of
          December 19, 2019, among the Borrower and Lender (the “DIP Credit Agreement”); 1

          (ii)   authorizes the Borrower to grant John C Head III, in his individual capacity (the
          “Lender”), pursuant to sections 364(c)(1), 364(c)(2), and 364(d) of the Bankruptcy
          Code, a senior secured priming and superpriority lien on substantially all of the
          Borrower’s assets to secure the Borrower’s obligations to the Lender under the DIP
          Credit Agreement;

          (iii) provides for the immediate effectiveness of the Final Order and waives any
          applicable stay (including under Bankruptcy Rule 6004) to permit such immediate
          effectiveness; and

          (iv)    authorizes the Borrower to make the payments contemplated by the Budget
          (attached to the DIP Credit Agreement as Exhibit A).

          Having considered the DIP Motion, the DIP Credit Agreement, the Affidavit of John R.

 Peterson in Support of Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing

 Debtor nSpire Health, Inc. to Obtain Postpetition Financing; (II) Granting Liens and

 Superpriority Claims; And (III) Scheduling a Final Hearing; and in accordance with Bankruptcy

 Rules 2002, 4001, 6004, and 9014 and all applicable Local Rules, notice of the DIP Motion and

 the hearing to consider the DIP Motion on a final basis (the “Final Hearing”) having been

 provided pursuant to the Court’s Order Granting Ex Parte Motion of Debtors to Limit Notice in

 These Cases, Including Notice with Respect to Their Motion to Extend Exclusive Period to File

 Plan of Reorganization (Docket No. 76); and it appearing that approval of the final relief

 requested in the DIP Motion is is fair and reasonable and in the best interests of the Debtors,

 their creditors, their estates and all parties in interest, and is essential for the continued operation

 of the Debtors’ business and the preservation of the value of the Debtors’ assets; and it appearing

 that the Debtors’ entry into the DIP Credit Agreement is a sound and prudent exercise of the


 1
  Unless provided otherwise, capitalized terms that are not defined in this order have the meaning
 provided in the DIP Credit Agreement. A copy of the DIP Credit Agreement is attached hereto
 as Exhibit A.

                                                    2
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20                         Entered:01/24/20 10:56:58 Page3 of 21




 Debtors’ business judgment; and after due deliberation and consideration, and good and

 sufficient cause appearing therefor:

     THIS COURT MAKES THE FOLLOWING FINDINGS OF FACT AND
 CONCLUSIONS OF LAW:2

                A.         Jurisdiction and Venue. This Court has core jurisdiction over the Cases,

 the DIP Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157(b)

 and 1334. Venue for the Cases and proceedings on the DIP Motion is proper before this Court

 pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory and other predicates for the relief sought

 herein are sections 105, 361, 362, 363, 364, 507 and 552 of the Bankruptcy Code, Bankruptcy

 Rules 2002, 4001, 6004, and 9014 and the Local Rules.

                B.         Notice. The notice of the DIP Motion and the Final Hearing is appropriate

 and sufficient under the circumstances.

                C.         Findings Regarding the DIP Credit Agreement.

                         (i)       Need for Postpetition Financing. The Debtors have an immediate

 need to obtain funds under the DIP Credit Agreement to, among other things, permit the orderly

 continuation of the operation of their businesses, to maintain business relationships with vendors,

 suppliers, and customers, to make payroll, to make capital expenditures, to satisfy other working

 capital and operational needs, to enter into a new lease agreement with GCC Longmont

 Holdings, Limited Partnership and to otherwise preserve the value of the Debtors’ estates. The

 Debtors’ access to sufficient working capital and liquidity is vital to a successful reorganization

 of the Debtors.




 2
   Findings of fact shall be construed as conclusions of law, and conclusions of law shall be construed as findings of
 fact, as appropriate, pursuant to Bankruptcy Rule 7052.

                                                          3
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20                Entered:01/24/20 10:56:58 Page4 of 21




                    (ii)      No Credit Available on More Favorable Terms. The Debtors have

 been and continue to be unable to obtain financing on more favorable terms from sources other

 than the Lender. The Debtors are unable to obtain unsecured credit allowable under section

 503(b)(1) of the Bankruptcy Code as an administrative expense or secured credit allowable only

 under sections 364(c)(1), 364(c)(2), or 364(c)(3) of the Bankruptcy Code. The Debtors are

 unable to obtain secured credit under section 364(d)(1) of the Bankruptcy Code without granting

 to the Lender the rights, remedies, privileges, benefits, and protections provided herein and in the

 DIP Credit Agreement.

              D.        Business Judgment and Good Faith Pursuant to Section 364(e).

                     (i)      The terms and conditions of the DIP Credit Agreement, and the fees

 are fair, reasonable, and the best available under the circumstances, and the Debtors’ agreement

 to the terms and conditions of the DIP Credit Agreement and to the payment of such fees reflect

 the Debtors’ exercise of prudent business judgment consistent with their fiduciary duties. Such

 terms and conditions are supported by reasonably equivalent value and fair consideration.

                    (ii)      The Debtors and Lender, with the assistance and counsel of their

 respective advisors, have acted in good faith and at arms’ length in, as applicable, negotiating,

 consenting to, or agreeing to, the DIP Credit Agreement.

              E.        Relief Essential; Best Interest. For the reasons stated above, the Debtors

 have requested immediate entry of this Final Order pursuant to Bankruptcy Rule 4001(c)(2), and

 the Local Rules. Absent granting the relief set forth in this Final Order, the Debtors’ ability to

 successfully reorganize will be immediately and irreparably harmed. Consummation of the DIP

 Credit Agreement is therefore in the best interests of the Debtors’ estates and consistent with

 their fiduciary duties. Based on all of the foregoing, sufficient cause exists for immediate entry



                                                  4
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20              Entered:01/24/20 10:56:58 Page5 of 21




 of the Final Order pursuant to Bankruptcy Rule 4001(c)(2) and the applicable Local Rules.

          NOW, THEREFORE, based on the DIP Motion and the record before this Court with

 respect to the DIP Motion, and good and sufficient cause appearing therefor,

          IT IS ORDERED that:

          1.     Motion Granted. The DIP Motion is hereby granted in accordance with the

 terms and conditions set forth in this Final Order and the DIP Credit Agreement. Any objections

 to the DIP Motion with respect to the entry of this Final Order that have not been withdrawn,

 waived, or settled, and all reservations of rights included therein, are hereby denied and

 overruled.

          2.     DIP Credit Agreement and DIP Protections.

          (a)    Approval of DIP Credit Agreement. The Debtors are expressly and immediately

  authorized to establish the DIP Credit Agreement, to execute, deliver, and perform under the

  DIP Credit Agreement and this Final Order. The Debtors are hereby authorized and directed to

  do and perform all acts and pay the principal, interest, fees, expenses, and other amounts

  described in the DIP Credit Agreement as such become due pursuant to the DIP Credit

  Agreement and this Final Order. Upon their execution and delivery, the DIP Credit Agreement

  shall represent the legal, valid, and binding obligations of the Borrower enforceable against the

  Borrower in accordance with their terms. Each officer of a Debtor is hereby authorized to

  execute and deliver the DIP Credit Agreement, and any document necessary to effectuate the

  terms of the DIP Credit Agreement and this Final Order, such execution and delivery to be

  conclusive evidence of such officer’s respective authority to act in the name of and on behalf of

  the Debtors.




                                                 5
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20               Entered:01/24/20 10:56:58 Page6 of 21




          (b)   DIP Obligations. The term “DIP Obligations” shall mean all amounts and other

 obligations and liabilities owing by the Borrower under the DIP Credit Agreement and shall

 include the principal of, interest on, and fees owing in respect of, such amounts, and any

 obligations in respect of indemnity claims, whether contingent or otherwise.

          (c)   Authorization to Incur DIP Obligations. The Borrower is hereby authorized to

 borrow under the DIP Credit Agreement; provided that (i) the aggregate outstanding amount for

 all such borrowings shall not exceed $1,200,000; and (ii) any proposed use of the proceeds of the

 Loans shall be consistent with the Budget.       All DIP Obligations shall be unconditionally

 guaranteed by the Borrower, as further provided in the DIP Credit Agreement.

          (d)   Conditions Precedent. The Lender shall have no obligation to extend credit under

 the DIP Credit Agreement unless and until all conditions precedent to the extension of credit

 under the DIP Credit Agreement and this Final Order have been satisfied in full or waived by the

 Lender in accordance with the DIP Credit Agreement.

          (e)   DIP Liens. As security for the DIP Obligations, effective as of the date of this

 order, the following Liens, which shall immediately and without any further action by any person

 be valid, binding, permanent, perfected, continuing, enforceable, and non-avoidable upon the

 entry of this Final Order, are hereby granted by the Debtors to the Lender on substantially all of

 the Borrower’s assets and properties and all proceeds, products, accessions, rents, and profits

 thereof, and the Borrower’s domain names and bank account, in each case whether now owned

 or existing or hereafter acquired or arising (the “Collateral”). Subject to the Permitted Liens and

 the Carve-Out (both terms as defined herein), the Liens shall have priority over other liens on the

 Borrower’s property, whether now owned or existing or hereafter acquired or arising, and current




                                                 6
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20                Entered:01/24/20 10:56:58 Page7 of 21




 and future administrative expenses in these Cases pursuant to sections 364(c)(2), 364(c)(1), and

 364(d) of the Bankruptcy Code.

          (f)   Notwithstanding the foregoing, the Liens shall be junior to tax liens and

 mechanics liens against the Borrower’s assets (the “Permitted Liens”) and (a) all unpaid fees

 required to be paid in these Cases to the clerk of the United States Bankruptcy Court for the

 District of Colorado and to the office of the United States Trustee under 28 U.S.C. § 1930(a)(6);

 (b) the reasonable unpaid fees, costs, and disbursements of professionals retained by the Debtors

 in these Cases that are incurred prior to the delivery by the Lender of a default notice under this

 Agreement ((a) and (b) collectively, the “Carve-Out”).

          3.    Disposition of Collateral; Credit Bid.

          (a)   The Lender (or one or more of its designees, affiliates or assignees) shall have the

 unqualified right to credit bid any or all of the DIP Obligations under or pursuant to section 363

 of the Bankruptcy Code or any plan of reorganization or plan of liquidation under section 1129

 of the Bankruptcy Code.

          (b)   If the Lender makes a credit bid in connection with any auction or other sale

 process relating to the sale or other disposition of any Collateral, then for purposes of such

 auction or sale process or any applicable order of this Court, the Lender shall be automatically

 deemed to be a qualified bidder and its bid shall be automatically deemed to constitute a

 qualified bid, regardless of whether the qualified bidder or qualified bid requirements are

 satisfied.

          4.    Restriction on Use of Proceeds.          Notwithstanding anything herein to the

 contrary, no loans or proceeds from the DIP Credit Agreement may be used by (a) any Debtor, a

 committee, if one is formed, or trustee or other estate representative appointed in the Cases or



                                                 7
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20              Entered:01/24/20 10:56:58 Page8 of 21




 upon the conversion of any of the Cases to a case under chapter 7 of the Bankruptcy Code or in

 any other proceedings related to any of the foregoing (each, a “Successor Case”), or any other

 person, party, or entity to prosecute or challenge the Liens or obligations owed to Lender under

 the DIP Credit Agreement or this Final Order or to bring actions arising under chapter 5 of the

 Bankruptcy Code against the Lender or any of the Lender’s affiliates.

          5.   No Marshaling. Subject to entry of a Final Order, the Lender shall be subject to

 the equitable doctrine of “marshaling” or any other similar doctrine with respect to any of the

 Collateral.

          6.   Amendments.         The Debtors are authorized and empowered, without further

 notice and hearing or approval of this Court, to amend, modify, supplement, or waive any

 provision of the DIP Credit Agreement in accordance with the provisions thereof, in each case

 unless such amendment, modification, supplement, or waiver increases the aggregate lending

 commitments under the DIP Credit Agreement to more than $1,200,000, shortens the Maturity

 Date, or adds or amends (in any respect unfavorable to the Debtors) any Event of Default. No

 waiver, modification, or amendment of any of the provisions of the DIP Credit Agreement shall

 be effective unless set forth in writing, signed by or on behalf of the Borrower and the Lender

 and, except as provided herein, approved by this Court.

          7.   Inconsistency.      In the event of any inconsistency between the terms and

 conditions of the DIP Credit Agreement and of this Final Order, the provisions of this Final

 Order shall govern and control.

          8.   Enforceability. This Final Order shall constitute findings of fact and conclusions

 of law pursuant to the Bankruptcy Rule 7052 and shall take effect and be fully enforceable

 immediately upon execution hereof.       This Final Order shall be immediately effective and



                                                8
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20                 Entered:01/24/20 10:56:58 Page9 of 21




 enforceable upon its entry, and there shall be no stay of execution or effectiveness of this Final

 Order.

          9.    Headings. Paragraph headings used herein are for convenience only and are not

 to affect the construction of, or to be taken into consideration in, interpreting this Final Order.

          10.   Retention of Jurisdiction. This Court has and will retain jurisdiction to enforce

 this Final Order according to its terms.


 Dated: January 24, 2020
        Denver, Colorado


                                                United States Bankruptcy Judge




                                                   9
 20182805.1
Case:19-13271-MER Doc#:167 Filed:01/24/20   Entered:01/24/20 10:56:58 Page10 of 21




                              Exhibit A
Case:19-13271-MER Doc#:167 Filed:01/24/20     Entered:01/24/20 10:56:58 Page11 of 21




                      LOAN AND SECURITY AGREEMENT

                                  by and among

                            NSPIRE HEALTH, INC.,
                                as the Borrowers

                                       and

                               JOHN C HEAD III,
                                 as the Lender

                           Dated as of December 19, 2019




  20035695.6
Case:19-13271-MER Doc#:167 Filed:01/24/20                 Entered:01/24/20 10:56:58 Page12 of 21




                               LOAN AND SECURITY AGREEMENT

          This loan and security agreement (the “Agreement”), dated as of December 18, 2019, is
  among nSpire Health, Inc., as borrower (together, the “Borrower”), and John C Head III, as
  lender (the “Lender”).

                                              RECITALS

          WHEREAS, on April 22, 2019 (the “Petition Date”), the Borrower filed a voluntary
  petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
  Code”) with the United States Bankruptcy Court for the District of Colorado (the “Bankruptcy
  Court”).

         WHEREAS, from and after the Petition Date, the Borrower continues to operate its
  businesses and manage its property as debtor-in-possession under Sections 1107 and 1108 of the
  Bankruptcy Code; and

          WHEREAS, the Borrower has requested the Lender to provide a discretionary revolving
  loan facility (the “DIP Loan Facility”) in an aggregate principal amount not to exceed
  $1,200,000, the proceeds of which will be used to provide working capital from time to time for
  the Borrower, to fund the administration of the Debtors chapter 11 cases (the “Cases”), and for
  other general corporate purposes in accordance with the Budget (as defined herein).

                                            AGREEMENT

        Now, therefore, in consideration of the premises and the agreements, provisions and
  covenants herein contained, the parties hereto agree as follows:

           1.      Amount of Loan/Advances

       The maximum aggregate principal amount of the Loan shall be $1,200,000 (the
  “Maximum Loan Amount”), which sums shall be loaned as follows:

                a. Upon entry of an order (the “Interim Order”) from the Bankruptcy Court
                   granting on an interim basis the Motion of Debtors for Entry of Interim and Final
                   Orders (I) Authorizing Debtors to Obtain Postpetition Financing; (II) Granting
                   Liens and Superpriority Claims; and (III) Scheduling a Final Hearing (the “DIP
                   Motion”), and upon satisfaction of all conditions and requirements of this
                   Agreement, the Lender shall advance to the Debtors and amount up to $590,000
                   (the “Interim Advancement”) to be used in accordance with the budget of
                   projected expenses (the “Budget”) attached hereto as Exhibit A.

                b. Upon entry of an order (the “Final Order”) from the Bankruptcy Court granting
                   on an interim basis the DIP Motion, and upon satisfaction of all conditions and
                   requirements of this Agreement, the Lender, in its discretion and without further
                   order of the Bankruptcy Court, may make advancements (“Additional
                   Advancements,” and together with the Interim Advancement, the “Loan”) in
                   addition to the Interim Advancement. The total principal amount provided in the


  20035695.6
Case:19-13271-MER Doc#:167 Filed:01/24/20               Entered:01/24/20 10:56:58 Page13 of 21




                   Interim Advancement and any Additional Advancements shall not exceed the
                   Maximum Loan Amount, to be used in accordance with the Additional
                   Advancement Budget (as defined herein).

              2.   Conditions Precedent

          Unless the Lender agrees otherwise, the Lender shall not be obligated to fund the Initial
  Advancement if, prior to funding the Initial Advancement, (i) the Cases have been converted to
  cases under chapter 7 of the Bankruptcy Code; (ii) the Cases have been dismissed; (iii) a trustee
  has been appointed to administer the Cases while in chapter 11 of the Bankruptcy Code; or (iv)
  the Interim Order does not grant the Lender a security interest in the Collateral (as defined
  herein) consistent with the terms of this Agreement.

         The Lender shall have full discretion regarding whether to fund Additional
  Advancements. Prior to funding Additional Advancements, the Borrower shall provide the
  Lender with a budget covering the period for which the Additional Advancements are sought (an
  “Additional Advancement Budget”).

              3.   Interest

        The interest rate on Loans shall accrue at a rate equal to 60-day LIBOR plus 4.5% per
  annum during the period such Loan remains outstanding.

              4.   Term

         The term of this Agreement shall be the earlier of (a) 120 days from closing (“Initial
  Maturity”), unless extended as outlined below, (b) any substantial reorganization of the
  Borrower pursuant to a plan of reorganization confirmed by the Court, or (c) the occurrence of a
  material an Event of Default that is not cured within a reasonable time after the Borrower
  becomes aware of the Event of Default.

          This Agreement may be extended by the Borrower for a period of 3 months from the
  Initial Maturity (“Extended Maturity”). The later of the Initial Maturity or Extended Maturity
  is the “Maturity Date”)

          Upon the Maturity Date and written confirmation by the Lender that all obligations have
  been paid in full, all Liens granted pursuant to this Agreement shall terminate.

              5.   Grant of Security Interest

          To secure the Borrower’s obligations to repay the Loan and any interest under this
  Agreement to the Lender, the Borrower hereby grants and pledges to the Lender a security
  interest and a superpriority claim (collectively, the “Liens”) on substantially all of the
  Borrower’s assets and properties and all proceeds, products, accessions, rents, and profits
  thereof, and the Borrower’s domain names and bank account, in each case whether now owned
  or existing or hereafter acquired or arising (the “Collateral”). Subject to the Permitted Liens and
  the Carve-Out (both terms as defined herein), the Liens shall have priority over other liens on the
  Borrower’s property, whether now owned or existing or hereafter acquired or arising, and current

                                                  2
  20035695.
Case:19-13271-MER Doc#:167 Filed:01/24/20                  Entered:01/24/20 10:56:58 Page14 of 21




  or future administrative expenses in these Cases pursuant to sections 364(c)(2), 364(c)(1),
  364(c)(3), and 364(d) of the Bankruptcy Code.

          Notwithstanding the foregoing, the Liens shall be junior to tax liens and mechanics liens
  against the Borrower’s assets (the “Permitted Liens”) and (a) all unpaid fees required to be paid
  in these Cases to the clerk of the Bankruptcy Court and to the office of the United States Trustee
  under 28 U.S.C. § 1930(a)(6); and (b) the reasonable unpaid fees, costs, and disbursements of
  professionals retained by the Debtors in these Cases that are incurred prior to the delivery by the
  Lender of a default notice under this Agreement ((a) and (b) collectively, the “Carve-Out”).

              6.   Fees

         The Borrower agrees to pay to the Lender on the Closing Date a closing fee equal to
  $50,000.

              7.   Mandatory Repayment

        Unless the Lender agrees otherwise, the Loans and all interest accrued under this
  Agreement shall be due and payable upon the Maturity Date.

              8.   Voluntary Prepayment

          The Borrower shall have the right to prepay Loans without premium or penalty in whole
  or in part from time to time so long as the Borrower gives the Lender written notice of its intent
  to make such repayment and the intended amount of such repayment.

              9.   Events of Default

        Listing of Events of Default. Each of the following events or occurrences shall constitute
  an “Event of Default”:

              a.   Non-Payment of Obligations. The Borrower shall default in the payment of
                   principal or interest of any Loan when such amount is due.

              b.   Budget. The Borrower, without approval from the Lender, shall exceed by more
                   than 20% the total projected expenses contained in the Budget or Additional
                   Advancement Budgets.

              c.   Breach of Warranty. Any representation or warranty by the Borrower made in
                   this Agreement is or shall be incorrect in any material respect when made or
                   deemed to have been made.

              d.   Impairment of Security, etc. Any Lien, in whole or in part, terminates, ceases to
                   be effective or perfected or ceases to be a legally valid, binding, and enforceable
                   obligation of the Borrower.

              e.   Change of Control. (a) the Lender shall, together with its affiliates, at any time
                   fail to have or exercise the power to elect a majority of the board of directors or


                                                     3
  20035695.
Case:19-13271-MER Doc#:167 Filed:01/24/20                    Entered:01/24/20 10:56:58 Page15 of 21




                    another managing body of nSpire Health, LLC, (b) the Lender, together with its
                    affiliates, shall at any time, directly or indirectly, fail to own beneficially and of
                    record, on a fully diluted basis, more than 50.1% of the outstanding membership
                    interests with the power to vote of nSpire Health, LLC, or (c) nSpire Health, LLC
                    shall at any time, directly or indirectly, own beneficially and of record, on a fully
                    diluted basis, less than 100% of the membership interests in nSpire Health, Inc.

              f.    Bankruptcy Defaults. The occurrence of any of the following in these Cases:

                    i.     the entry of an order by the Bankruptcy Court authorizing the solicitation
                           of a plan of reorganization of liquidation by a plan proponent other than
                           the Borrower or the Lender;

                    ii.    without the prior written consent of the Lender, the dismissal of the Cases
                           or the conversion of the Cases to one or more cases under chapter 7 of the
                           Bankruptcy Code;

                    iii.   the entry of an order which has not been withdrawn, dismissed, or
                           reversed (a) appointing an interim or permanent trustee in the Cases or the
                           appointment of an examiner with expanded powers in the Cases, (b)
                           granting relief from or modifying the automatic stay of Section 362 of the
                           Bankruptcy Code (x) to allow any creditor to execute upon or enforce a
                           lien on any Collateral or any other property or assets of the Borrower, in
                           either case in excess of $100,000 or (y) with respect to any lien of, or the
                           granting of any lien on any Collateral or any other property or assets of the
                           Borrower to, any state or local environmental or regulatory agency or
                           authority, in each case with a value in excess of $100,000, (c) amending,
                           supplementing, staying, reversing, vacating, or otherwise modifying any
                           of the Interim Order, Final Order, or this Agreement or Lender’ rights,
                           benefits, privileges or remedies under the Interim Order, Final Order, or
                           this Agreement, or (d) approving a sale of any assets of the Borrower
                           pursuant to section 363 of the Bankruptcy Code or approving bidding
                           procedures therefor, other than any such order that is satisfactory to the
                           Lender in its sole discretion;

                    iv.    the marshaling of any Collateral; and

                    v.     the filing of any plan of reorganization or liquidation or disclosure
                           statement attendant thereto by the Borrower that is not on terms acceptable
                           to the Lender in its sole discretion.

              10.   Remedies Upon Event of Default

         If any Event of Default shall occur for any reason, whether voluntary or involuntary, and
  be continuing, the Lender may by notice to the Borrower declare all or any portion of the
  outstanding principal amount of the Loans to be due and payable, whereupon the full unpaid
  amount of such Loans that shall be so declared due and payable shall be and become


                                                      4
  20035695.
Case:19-13271-MER Doc#:167 Filed:01/24/20                   Entered:01/24/20 10:56:58 Page16 of 21




  immediately due and payable, without further notice, demand, or presentment. The Lender shall
  have all other rights and remedies available at law or in equity.

              11.   Borrower’s Covenants

          The Borrower hereby covenants and agrees that on the Closing Date and thereafter, until
  the Loans, together with fees and interest hereunder, are paid in full in accordance with the terms
  of this Agreement:

              a.    Financial Statements. The Borrower shall provide the Lender (i) unaudited
                    consolidated balance sheets of the Borrower, (ii) unaudited consolidated
                    statements of income and cash flow of the Borrower, or (iii) unaudited
                    consolidated 12-week budget within 5 business days of a written request from the
                    Lender for such information.

              b.    Notice of Default. As soon as possible and in any event within 3 business days
                    after the Borrower or an agent thereof obtain knowledge thereof, the Borrower
                    shall provide the Lender a notice of the occurrence of any event that constitutes a
                    Default or an Event of Default, which notice shall specify the nature thereof, the
                    period of existence thereof and what action the applicable the Borrower proposes
                    to take with respect thereto.

              c.    Books, Records, and Inspections. The Borrower will maintain proper books of
                    record and account, in which entries that are full, true and correct in all material
                    respects. Upon reasonable prior notice, during the Borrower’s normal business
                    hours and at any other time agreed upon by the Borrower and the Lender, the
                    Borrower will permit representatives of the Lender to visit and inspect any of its
                    properties, to examine its corporate, financial and operating records, and make
                    copies thereof or abstracts therefrom, and to discuss its affairs, finances and
                    accounts with its directors, officers, and independent public accountants, all at the
                    expense of the Borrower.

              d.    Use of Proceeds. The proceeds of the Loans shall be used, in all cases, in
                    accordance with and as set forth in the Budget or the Additional Advancement
                    Budget, as applicable.

              e.    Chapter 11 Cases. The Borrower will use commercially reasonable efforts to
                    obtain the approval of the Bankruptcy Court of this Agreement.

              12.   Assignment

          The Lender may assign any or all of its obligations and rights hereunder to one or more
  assignees or participants with the prior written approval of the Borrower—which approval shall
  not be unreasonably withheld. The Borrower agree to execute any and all agreements and other
  documents reasonably requested by the Lender to formalize such assignments of its rights
  hereunder.



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  20035695.
Case:19-13271-MER Doc#:167 Filed:01/24/20                  Entered:01/24/20 10:56:58 Page17 of 21




              13.   Usury

          At no time shall the Borrower be obligated or required to pay interest at a rate which
  could subject the Lender or its assignees to either civil or criminal liability as a result of being in
  excess of the maximum rate which the Borrower is permitted by law to contract or agree to pay.
  If by the terms of this Agreement, the Borrower is at any time required or obligated to pay
  interest at a rate in excess of such maximum rate, the rate of interest hereunder shall be deemed
  to be immediately reduced to such maximum rate and interest payable shall be computed at such
  maximum rate and the portion of all prior interest payments in excess of such maximum rate
  shall be applied and shall be deemed to have been payments in reduction of principal balance or,
  if the Loan has not closed shall be void, and if Lender deems it a hardship to close the Loan
  under usury statutes, all fees paid to the Lender shall be refunded and this Agreement shall be
  null and void.

              14.   Governing Law & Jurisdiction

         The governing law for this Agreement is that of the State of Colorado. The Bankruptcy
  Court shall have exclusive jurisdiction to hear and resolve any disputes regarding this
  Agreement.

              15.   Execution and Reliance on Counsel

         This Agreement may be executed in counterparts which, taken together, shall constitute
  one original. This Agreement is for the benefit of the Borrower only and may not be assigned
  except upon the prior written consent of the Lender, which consent may be withheld for any
  reason or for no reason. No party other than the Borrower, or an assignee acceptable to Lender
  may rely upon the terms and conditions of this Agreement. This Agreement is executed by an
  individual strictly in his capacity as a representative of the Lender. By acceptance of this
  Agreement, the Borrower agrees that no representative, member, partner, shareholder, employee,
  or agent of the Lender shall be personally liable for the payment of any claim or performance of
  any obligations hereunder.

         The Borrower and Lender had the benefit of the advice of counsel in connection with the
  execution of this Agreement and the Loan contemplated hereby. This document has been
  negotiated at arm's length and in good faith between the Lender and the Borrower.

              16.   No Waiver

          No failure or delay on the part of the Lender to exercise any rights hereunder shall
  operate as a waiver thereof, nor shall any single or partial exercise by the Lender of any right
  hereunder preclude any further exercise thereof, or the exercise of any other right. Each and
  every right or remedy granted hereunder or under any document delivered thereunder or in
  connection therewith or allowed to the Lender in law or equity shall be deemed cumulative and
  may be exercised from time to time.




                                                     6
  20035695.
Case:19-13271-MER Doc#:167 Filed:01/24/20                 Entered:01/24/20 10:56:58 Page18 of 21




              17.   Amendments

         No amendment to the terms of this Agreement shall be enforceable unless in writing and
  signed by the Borrower and the Lender.

              18.   Notices

          Unless otherwise provided, all written notices required hereunder may be provided by
  email, first-class mail, or overnight mail.

              19.   Severability

          Any provision of this Agreement that is prohibited or unenforceable in any jurisdiction
  shall, as to such jurisdiction, be ineffective to the extent of such prohibition or unenforceability
  without invalidating the remaining provisions hereof, and any such prohibition or
  unenforceability in any jurisdiction shall not invalidate or render unenforceable such provision in
  any other jurisdiction.

              20.   Integration

          This Agreement represents the agreement of the Borrower and Lender with respect to the
  subject matter hereof, and there are no promises, undertakings, representations, or warranties by
  any party hereto relative to the subject matter hereof not expressly set forth or referred to herein.
  In the event of any conflict between the terms of the Interim Order or Final Order and any other
  Credit Document, the terms of the Interim Order or Final Order shall govern.




                                                    7
  20035695.
Case:19-13271-MER Doc#:167 Filed:01/24/20   Entered:01/24/20 10:56:58 Page19 of 21
Case:19-13271-MER Doc#:167 Filed:01/24/20   Entered:01/24/20 10:56:58 Page20 of 21




                                 Exhibit A
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                                                                                  Case:19-13271-MER Doc#:167 Filed:01/24/20                                                                                                 Entered:01/24/20 10:56:58 Page21 of 21
13 Week Projection
As of December 19, 2019


Summary                                  Week                                      Month                   Week                             Month                  Week                           Month                   Week      Month        Total
Position                              12/16/2019 12/23/2019 12/30/2019                       1/6/2020   1/13/2020* 1/20/2020* 1/27/2020*               2/3/2020* 2/10/2020 2/17/2020 2/24/2020               3/2/2020   3/19/2020                13 Wk
Operating Personnel
Device Manager                              $4,250       $4,250        $4,250      $12,750     $4,250      $4,250      $4,250      $4,250    $17,000     $4,250    $4,250     $4,250     $4,250    $17,000     $4,250     $4,250      $8,500      $55,250
Assembly/Manufacturing 1                                                                                                                                  $865      $865       $865       $865      $3,460      $865       $865       $1,730       $5,190
Assembly/Manufacturing 2                                                                                                                                  $865      $865       $865       $865      $3,460      $865       $865       $1,730       $5,190
Assembly/Manufacturing 3                                                                                                                                                                                        $865       $865       $1,730       $1,730
Warehouse/Shipping                                                                                                                                        $865      $865       $865       $865      $3,460      $865       $865       $1,730       $5,190
Sustainability Engineer                      $495         $495             $495     $1,485     $1,980      $1,980      $1,980      $1,980     $7,920     $1,980    $1,980     $1,980     $1,980     $7,920     $1,980     $1,980      $3,960      $21,285
Vendor Manufacturing
Purchasing                                   $560                          $560     $1,120       $560        $560        $560        $560     $2,240       $560      $560       $560       $560     $2,240      $560        $560      $1,120       $6,720

Regulatory Manager
Regulatory                                   $495         $495             $495     $1,485       $495        $495        $495        $495     $1,980       $495      $495       $495       $495     $1,980      $495       $495        $990        $6,435
Regulatory                                                                                                                                                                                                     $1,508     $1,508      $3,016       $3,016

Business Manager                            $2,475       $2,475        $2,475       $7,425     $2,475      $2,475      $2,475      $2,475     $9,900     $2,475    $2,475     $2,475     $2,475     $9,900     $2,475     $2,475      $4,950      $32,175
Customer Service 1                          $1,400       $1,400        $1,400       $4,200     $1,400      $1,400      $1,400      $1,400     $5,600     $1,400    $1,400     $1,400     $1,400     $5,600     $1,400     $1,400      $2,800      $18,200
Customer Service 2                                                                                                                                                                                             $1,400     $1,400      $2,800       $2,800
Dealer Management
Sales
Mkting & Communications

IT/Software Manager                         $2,538      $2,538        $2,538        $7,614     $2,538      $2,538      $2,538      $2,538    $10,152     $3,000    $3,000     $3,000     $3,000    $12,000     $3,000     $3,000      $6,000      $35,766
Corp IT & Device Software                   $2,538      $2,538        $2,538        $7,614     $2,538      $2,538      $2,538      $2,538    $10,152     $2,538    $2,538     $2,538     $2,538    $10,152     $2,538     $2,538      $5,076      $32,994
Total Operating Personnel                  $14,751     $14,191       $14,751       $43,693    $16,236     $16,236     $16,236     $16,236    $64,944    $19,293   $19,293    $19,293    $19,293    $77,172    $23,066    $23,066     $46,132     $231,941

Administrative Personnel
AR                                                                                                           $938        $938        $938     $2,814       $938      $938       $938       $938     $3,752       $938       $938      $1,876       $8,442
AP                                                                                                                                   $938       $938       $938      $938       $938       $938     $3,752       $938       $938      $1,876       $6,566
Finance Manager                             $1,500      $1,500        $1,500        $4,500     $1,500      $1,500      $1,500      $1,500     $6,000     $1,500    $1,500     $1,500     $1,500     $6,000     $1,500     $1,500      $3,000      $19,500
VP Operations                               $5,100      $5,100        $5,100       $15,300     $5,100      $5,100      $5,100      $5,100    $20,400     $5,100    $5,100     $5,100     $5,100    $20,400     $5,100     $5,100     $10,200      $66,300
CEO                                         $5,200      $5,200        $5,200       $15,600     $5,200      $5,200      $5,200      $5,200    $20,800     $5,200    $5,200     $5,200     $5,200    $20,800     $5,200     $5,200     $10,400      $67,600
Total Administrative Personnel             $11,800     $11,800       $11,800       $35,400    $11,800     $12,738     $12,738     $13,676    $50,952    $13,676   $13,676    $13,676    $13,676    $54,704    $13,676    $13,676     $27,352     $168,408


Contsultants
Eng. Reliability/Design                     $1,875       $1,875        $1,875       $5,625     $1,875      $1,875      $1,875      $1,875     $7,500     $1,875    $1,875     $1,875     $1,875     $7,500     $1,875     $1,875      $3,750      $24,375
Device Manufacturing                         $572         $572          $572        $1,716      $572         $572       $572        $572      $2,288      $572      $572       $572       $572      $2,288      $572       $572       $1,144       $7,436
Medical Advisor                                                                                            $4,500                             $4,500                                                                                               $4,500
IT System Mapping                            $375         $375           $375       $1,125       $375        $375                               $750                                                                                               $1,875
Temp Laborers - Moving                                                   $500         $500     $1,500      $1,500      $1,500        $500     $5,000                                                                                               $5,500
Total Consultants                           $2,822      $2,822         $3,322       $8,966     $4,322      $8,822      $3,947      $2,947    $20,038     $2,447    $2,447     $2,447     $2,447     $9,788     $2,447     $2,447      $4,894      $43,686

Total Personel Expenses                    $30,673     $28,813       $31,748       $91,234    $32,858     $38,296     $33,421     $33,359   $137,934    $35,416   $35,416    $35,416    $35,416   $141,664    $39,189    $44,064     $83,253     $454,085

Administrative Expenses
Rent                                        $5,417       $5,417        $5,417      $16,251     $5,417      $5,417      $5,417      $5,417    $21,668     $5,417    $5,417     $5,417     $5,417    $21,668     $5,417     $5,417     $10,834      $70,421
Utility & Bldg Maint Cost                   $2,000       $2,000        $2,000       $6,000     $2,000      $2,000      $2,000      $2,000     $8,000     $2,000    $2,000     $2,000     $2,000     $8,000     $2,000     $2,000      $4,000      $26,000
Insurance                                   $2,500       $2,500        $2,500       $7,500     $2,500      $2,500      $2,500      $2,500    $10,000     $2,500    $2,500     $2,500     $2,500    $10,000     $2,500     $2,500      $5,000      $32,500
Legal Expenses                             $20,000                                 $20,000                                        $10,000    $10,000                         $10,000               $10,000    $10,000                $10,000      $50,000
Supplies                                     $500         $500          $500        $1,500      $500         $500        $500       $500      $2,000      $500      $500       $500       $500      $2,000     $2,000                 $2,000       $7,500
Shipping                                    $1,250       $1,250        $1,250       $3,750     $1,500                              $1,500     $3,000     $1,500    $1,500     $1,500     $1,500     $6,000     $1,800     $1,800      $3,600      $16,350
Communication Expense                        $625         $625          $625        $1,875      $625         $625        $625       $625      $2,500      $625      $625       $625       $625      $2,500       $625      $625       $1,250       $8,125
Server Costs                                                                                                                                                       $1,250     $1,250     $1,250     $3,750     $1,250     $1,250      $2,500       $6,250
Software Licenses                                                                                                                  $6,250     $6,250     $6,250                                     $6,250     $6,250                 $6,250      $18,750
Travel                                                   $2,500        $2,500       $5,000                             $6,000                 $6,000     $2,400    $2,400                $2,400     $7,200     $2,400                 $2,400      $20,600
Marketing & Advertising                                                                                                                                                                    $750       $750     $1,500                 $1,500       $2,250
Miscellaneous                               $1,250      $1,250        $1,250        $3,750     $1,250      $1,250      $1,250      $1,250     $5,000     $1,250    $1,250     $1,250     $1,250     $5,000     $1,250     $1,250      $2,500      $16,250
Total Admin Expenses                       $33,542     $16,042       $16,042       $65,626    $13,792     $12,292     $18,292     $30,042    $74,418    $22,442   $17,442    $25,042    $18,192    $83,118    $36,992    $14,842     $51,834     $274,996

Other Administrative Expenses
US Trustee (including $1300 in arrears)     $1,300                     $1,625       $2,925                                                                                                                                $4,875      $4,875       $7,800
Moving Truck                                                             $250         $250       $500        $500        $500       $500      $2,000                                                                                               $2,250
Total Other Admin Expenses                  $1,300                     $1,875       $3,175       $500        $500        $500       $500      $2,000                                                                      $4,875      $4,875      $10,050

TOTAL EXPENSES                             $65,515     $44,855       $49,665      $160,035    $47,150     $51,088     $52,213     $63,901   $214,352    $57,858   $52,858    $60,458    $53,608   $224,782    $76,181    $63,781    $139,962     $739,131

REVENUE*
Sale of obsolete Inventory                  $5,000                                  $5,000    $10,000                                        $10,000    $12,500                                    $12,500    $15,000                $15,000      $42,500
Trade Product Revenue                     $101,223                   $14,000      $115,223                                         $5,000     $5,000    $10,000   $17,500    $17,500    $17,500    $62,500    $17,500    $27,500     $45,000     $227,723
Trade Service Revenue                         $300                   $11,648       $11,948                                         $5,000     $5,000     $7,500   $12,500    $12,500    $12,500    $45,000    $12,500    $18,750     $31,250      $93,198
TOTAL REVENUE                             $106,523           $0      $25,648      $132,171    $10,000                             $10,000    $20,000    $30,000   $30,000    $30,000    $30,000   $120,000    $45,000    $46,250     $91,250     $363,421

Net Income                                $41,008    ($44,855)     ($24,017) ($27,864) ($37,150)         ($51,088)   ($52,213)   ($53,901) ($194,352) ($27,858) ($22,858) ($30,458) ($23,608) ($104,782) ($31,181) ($17,531) ($48,712)         ($375,710)

* January 2020 relocation will limit assembly and ability to fill orders

Operating Cash Requirement
Expenses                                   $65,515     $44,855       $49,665      $160,035    $47,150     $51,088     $52,213     $63,901   $214,352    $57,858   $52,858    $60,458    $53,608   $224,782    $76,181    $63,781    $139,962     $739,131
A/R received                                                                                                                                                                 $95,871                          $23,083     $9,000                 $127,954
Operating Cash Requirement                 $65,515     $44,855       $49,665                  $47,150     $51,088     $52,213     $63,901               $57,858   $52,858   ($35,413)   $53,608               $53,098    $54,781                 $611,177

Equipment                                                                                                                                                                                                                $50,000                  $50,000
Inventory                                                                                     $50,000                                                   $50,000                                                          $50,000                 $150,000
Security Deposits                                                                            $250,000                                                   $50,000                                                          $50,000                 $350,000
Other Cash Requirements                                                                      $300,000                                                  $100,000                                                         $150,000                 $550,000

Total Cash Need                           $65,515     $44,855       $49,665                  $347,150    $51,088     $52,213     $63,901               $157,858   $52,858   ($35,413)   $53,608              $53,098    $204,781               $1,161,177

Cash Need though 1/13/20                                                                     $558,273




1112/19/2019
